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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Stacey L. Schmader, Leticia O’Dell, Chad    )
Nicholson, Kai Huschke, Markie Miller,      )
Michelle Sanborn, Malinda Clatterbuck,      )
Crystal Jankowski,                          )
                                            )
                       Plaintiffs,          )        Civil Action No. 1:20-cv-00067
                                            )
        v.                                  )        (Wilson, J.)
                                            )        (Mehalchick, M.J.)
Thomas Alan Linzey, in his Individual and )
Official Capacities; Tammy Belinsky, in her )
Individual and Official Capacities; Fred    )
Walls, in his Individual and Official       )
Capacities; Edward Wells, in his Individual )
and Official Capacities; Community          )
Environmental Legal Defense                 )
Fund and the Center for Democratic and      )
Environmental Rights;                       )
                                            )
                       Defendants.          )
____________________________________)

                     UNOPPOSED MOTION TO SEAL DOCUMENTS

       Plaintiffs hereby move the Court, pursuant to Federal Rule of Civil Procedure 5.2(d), for

an Order sealing Exhibits A and C to Plaintiffs’ Motion for Temporary Restraining Order (Dkt.

Nos. 7-3, 7-5); Plaintiffs’ Amended Complaint (Dkt. No. 30); and Exhibits A-Z to the Amended

Complaint (Dkt. No. 30-1) pursuant to a confidential settlement agreement between the parties.

Plaintiffs will file on the public record redacted copies of the documents. Pursuant to Local Rule

7.1, Plaintiffs sought and received concurrence in the instant motion from Defendants.

       Exhibits A and C to Plaintiffs’ Motion for Temporary Restraining Order constitute,

respectively, Plaintiffs’ Complaint for Permanent Injunctive Relief and Motion for Preliminary

Injunction with Jury Demand Endorsed Hereon (Exhibit A), and Plaintiffs’ Motion for Leave to
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Amend Complaint for Permanent Injunctive Relief and Motion for Preliminary Injunction with

Jury Demand (Exhibit C), both filed in the Court of Common Pleas of Franklin County,

Pennsylvania.

       Plaintiffs request that the documents be sealed because they refer to or include privileged

communications.

       Accordingly, Plaintiffs respectfully submit this Motion for an Order to seal:

   (1) Exhibits A and C to Plaintiffs’ Motion for Temporary Restraining Order (Dkt. Nos. 7-3,

       7-5);

   (2) Plaintiffs’ Amended Complaint (Dkt. No. 30); and

   (3) Exhibits A-Z to the Amended Complaint (Dkt. No. 30-1).

A proposed Order is attached hereto.


Dated: December 6, 2020                             Respectfully submitted,


                                                    /s/ David M. Koller
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                                                    Co-Counsel for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I, David Koller, hereby certify that on December 6, 2020, a true and correct copy of the

foregoing was filed with U.S. District Court for the Middle District of Pennsylvania. A copy of

the Motion was served via the Court’s electronic filing system upon the following:

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Dated: December 6, 2020                     By:     /s/ David M. Koller
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                                                    Counsel for Plaintiffs
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and Official Capacities; Community          )
Environmental Legal Defense                 )
Fund and the Center for Democratic and      )
Environmental Rights;                       )
                                            )
                       Defendants.          )
____________________________________)

                                            ORDER

       AND NOW, this ___ day of ______________, 2020, upon consideration of Plaintiffs’

Unopposed Motion to Seal Documents, and any response thereto, it is hereby ORDERED and

DECREED that said Motion is GRANTED.


       BY THE COURT:

       _______________________________

       United States District Court Judge
